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                 CHRISTOPHER CHARLES COLLINS                          b                                                                                A*          ,u:)u *p                       .
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        To:     Any authorized law enforcementofticer

                YOU ARE COM               ED toarrestandbringbeforeaUnitedStatesmagistratejudgewithoutunnecessarydelay
        (nameofpersontobearrestek CHRISTOPHER CHARLES COLLINS                                                                                                                                                 ,
        who isaccused ofan offenseorviolation based on the following documentfiled with thecourt:

        V lndictment        O SupersedingIndictment          I
                                                             D lnformation O SupersedingInformation D Complaint
        O Probation Violation Petition      I
                                            D Supervised Rele% e Violation Petition                  ID Violation Notice D Orderofthe Court
        Thisoffenseisbriefly describedasfollows:
         Attempted TransferofObscene Materialto a Person Under16 Years ofAge and Possession ofChild Pornography


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        City andstate: Charl
                           ottesvile,Virginia                                        JOELC.HOPPE,U.S.#AGISTRATE JUDGE
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                Thiswarrantwasrece'vedon.atv J 18 A'/F ,andthepersonwasarrestedon(aate)                                                                              2 /# > I9
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